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                                                                                                       SINGAPORE
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                                                                                                         TORONTO
                  BY HAND AND ECF

                  Honorable Nina Gershon, U.S.D.J.
                  United States District Court for the
                   Eastern District of New York
                  225 Cadman Plaza East
                  Brooklyn, New York 11201

                         Re: In re Dentsply Sirona, Inc. Securities Litigation, 18-cv-7253 (NG) (PK)

                  Dear Judge Gershon:

                         We represent Defendants in the above-captioned action. In accordance with
                  Your Honor’s Individual Practice Rule 3.E and the briefing schedule as modified by
                  the Court’s October 21, 2019 Order, please find enclosed:

                  1.   Notice of Defendants’ Motion to Dismiss the Class Action Complaint of Lead
                       Plaintiff Strathclyde Pension Fund (ECF No. 42);
                  2.   Declaration of Christopher P. Malloy in Support of Defendants’ Motion to
                       Dismiss the Class Action Complaint of Lead Plaintiff Strathclyde Pension
                       Fund, dated August 15, 2019, and exhibits thereto (ECF No. 43);
                  3.   Memorandum of Law in Support of Defendants’ Motion to Dismiss the Class
                       Action Complaint of Lead Plaintiff Strathclyde Pension Fund (ECF No. 44);
                  4.   Memorandum of Law of Lead Plaintiff Strathclyde Pension Fund in Opposition
                       to Defendants’ Motion to Dismiss the Class Action Complaint (ECF No. 45);
                  5.   Declaration of Michael A. Toomey in Support of Lead Plaintiff’s Opposition to
                       Defendants’ Motion to Dismiss the Class Action Complaint, and exhibits
                       thereto (ECF No. 46);
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      November 7, 2019
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      6.    Reply Memorandum of Law in Further Support of Defendants’ Motion to
            Dismiss the Class Action Complaint of Lead Plaintiff Strathclyde Pension
            Fund (ECF No. 47);
      7.    Reply Declaration of Christopher P. Malloy in Further Support of Defendants’
            Motion to Dismiss the Class Action Complaint of Lead Plaintiff Strathclyde
            Pension Fund, dated October 21, 2019, and exhibits thereto (ECF No. 48);
      8.    Supplemental Memorandum of Law of Lead Plaintiff Strathclyde Pension Fund
            in Further Opposition to Defendants’ Motion to Dismiss the Class Action
            Complaint (ECF No. 49);
      9.    Defendants’ Response to Lead Plaintiff’s Supplemental Memorandum of Law
            in Further Opposition to Defendants’ Motion to Dismiss the Class Action
            Complaint (ECF No. 50); and
      10.   Supplemental Declaration of Christopher P. Malloy in Response to Lead
            Plaintiff’s Supplemental Memorandum of Law in Further Opposition to
            Defendants’ Motion to Dismiss the Class Action Complaint, and the exhibit
            thereto (ECF No. 51).


              In accordance with Your Honor’s Individual Practice Rule 3.F, we also write
      to respectfully request oral argument on Defendants’ motion to dismiss.


                                                  Best regards,

                                                  /s/ Christopher P. Malloy

                                                  Christopher P. Malloy

      Enclosures

      cc:    The Honorable Magistrate Judge Peggy Kuo (by ECF without enclosures)
             All counsel of record (by ECF without enclosures)
